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15

16                                  UNITED STATES DISTRICT COURT

17                              NORTHERN DISTRICT OF CALIFORNIA

18                                         OAKLAND DIVISION

19   IN RE COLLEGE ATHLETE NIL                            Case No. 4:20-cv-03919-CW
     LITIGATION
20                                                        PLAINTIFFS’ SUPPLEMENTAL BRIEF
                                                          IN SUPPORT OF MOTION FOR
21
                                                          PRELIMINARY SETTLEMENT
22                                                        APPROVAL (ECF NO. 450)

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 1                                       GLOSSARY OF TERMS
 2   Term                        Long Cite
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 3                               Aid Cap Antitrust Litigation, Case No. 14-md-2541 CW (N.D. Cal.)
 4
     Amended Injunctive          Amended Injunctive Relief Settlement, Appendix A to Exhibit 1 to
 5   Relief Settlement or        Declaration of Steve W. Berman in Support of Plaintiffs’
     Am. IRS                     Supplemental Brief in Support of Motion for Preliminary
 6                               Settlement Approval, concurrently filed herewith

 7   Amended Settlement          Amended Settlement Agreement, Ex. 1 to Declaration of
     Agreement or Am. SA         Steve W. Berman in Support of Plaintiffs’ Supplemental Brief in
 8                               Support of Motion for Preliminary Settlement Approval,
                                 concurrently filed herewith
 9

10   Berman Opening Decl.        Declaration of Steve W. Berman in Support of Plaintiffs’
                                 Unopposed Motion for Preliminary Settlement Approval, filed July
11                               26, 2024, ECF No. 450-2

12   Berman Supp. Decl.          Declaration of Steve W. Berman in Support of Plaintiffs’
                                 Supplemental Brief in Support of Motion for Preliminary
13                               Settlement Approval, concurrently filed herewith
     Colorado Objectors          Alex Fontenot, Mya Hollingshed, Sara Fuller, Deontay Anderson,
14                               and Tucker Clark, filers of the Colo. Opp.
15   Colo. Opp.                  Plaintiffs in the Colorado Cases’ Response in Opposition to Motion
                                 for Preliminary Approval, filed Aug. 9, 2024, ECF No. 473
16
     Ex.                         Unless otherwise indicated, all Ex. references are to the Berman
17                               Supp. Decl.
18   Fontenot                    Fontenot v. National Collegiate Athletic Association, et al., Case
                                 No. 1:23-cv-03076 (D. Colo.)
19
     Fontenot Plaintiffs         Plaintiffs that filed Fontenot v. National Collegiate Athletic
20                               Association, et al., Case No. 1:23-cv-03076 (D. Colo.)
21   Hubbard                     Hubbard v. National Collegiate Athletic Association, et al., Case
                                 No. 4:23-cv-01593 CW (N.D. Cal.)
22

23   Injunctive Relief           Injunctive Relief Settlement, Appendix A to Ex. 1 to Declaration of
     Settlement or IRS           Steve W. Berman in Support of Plaintiffs’ Motion for Preliminary
24                               Settlement Approval, filed July 26, 2024, ECF No. 450-2

25   Johnson                     Johnson v. National Collegiate Athletic Association, Case No. 2:19-
                                 cv-05230 (E.D. Penn.)
26
     Klonoff Decl.               Declaration of Robert H. Klonoff Addressing the Argument [Doc.
27                               473] that Separate Counsel Must Be Appointed to Represent the
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 2                               Approval, filed July 26, 2024, ECF No. 450
 3   Peak Decl.                  Declaration of Carla A Peak Regarding Settlement Notice Program,
                                 filed July 26, 2024, ECF No. 450-5
 4
     Rascher Merits Report       Expert Report of Daniel A. Rascher, served on Dec 1, 2023
 5
     Rascher Decl.               Declaration of Daniel A. Rascher, filed July 26, 2024, ECF No.
 6                               450-4
 7   Reply                       Plaintiffs’ Reply in Support of Preliminary Settlement Approval,
                                 filed August 16, 2024, ECF No. 495
 8

 9   Third Am Compl.             Third Consolidated Amended Complaint, concurrently filed
                                 herewith
10
     Settlement Agreement        Stipulation and Settlement Agreement, attached as Exhibit 1 to the
11   or SA                       Declaration of Steve W. Berman in Support of Plaintiffs’
                                 Unopposed Motion for Preliminary Settlement Approval, filed July
12                               26, 2024, ECF No. 450-2

13   Tr.                         Transcript of Videoconference Proceedings, September 5, 2024,
                                 ECF No. 525
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 1                                       I.       INTRODUCTION

 2            The Injunctive Relief Settlement will result in a foundational transformation to college
 3   sports, which will empower and benefit college athletes like never before. In a sea change to the
 4   NCAA’s longstanding and long-defended rules, Division I college athletes will now be eligible to
 5   receive benefits collectively approximating 51% of future athletic revenues—comparable to
 6   professional sports. Economist Daniel Rascher has conservatively estimated that this revision to
 7   NCAA rules will result in $20 billion more flowing to student-athletes over the next ten years. The
 8   Settlement also for the first time delineates parameters on Defendants’ existing regulatory authority
 9   over NIL transactions, permanently clearing the way for the vast majority of student-athletes’ NIL
10   deals with third parties. It also eliminates the NCAA’s scholarship limits and replaces them with
11   roster limits for all sports—limits that are higher than the previous scholarship caps. These
12   developments are, standing alone, remarkable achievements for the Injunctive Relief Settlement
13   Class.
14            The benefits of the settlement do not stop there, however. As further clarified by the
15   amendments to the Injunctive Relief Settlement in response to the Court’s questions at the
16   preliminary approval hearing, Defendants’ enforcement authority over third-party NIL deals will
17   no longer extend to all third parties (as it did under the Interim NIL Rules) or the broadly defined
18   term “boosters” (as it did under the prior Settlement Agreement presented to the Court). Rather, it
19   will be limited to a narrower group of entities and individuals closely affiliated with the schools
20   (“Associated Entities or Individuals”) to prevent circumvention of the settlement. And, for the first
21   time, any limitations on payments will be subject to neutral arbitration review so that the NCAA
22   cannot act as judge, jury, and prosecutor.
23            Additionally, as this brief explains and the revised Injunctive Relief Settlement now makes
24   explicit, the Agreement does not prohibit any third-party NIL payments that are not prohibited
25   already by the NCAA’s existing rules. Instead, the relevant section of the Agreement merely
26   permits the NCAA to continue its existing prohibitions on “faux” NIL payments by the narrow
27   category of Associated Entities or Individuals, as elaborated upon by clarifying rules that provide
28   clearer and more objective guidance for assessing whether such payments are legitimate NIL
                                                       -1-
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 1   compensation. And the Settlement Agreement makes sure that the NCAA’s enforcement authority

 2   with respect to these third-party payments will no longer be unchecked. Under the settlement,

 3   student-athletes or institutions can challenge any payment-related discipline before a neutral

 4   arbitrator. Those arbitrations will occur quickly, and importantly, no penalties can be imposed while

 5   arbitration is pending unless the arbitrator determines that good cause has been shown. And if the

 6   arbitrator sides with enforcement, then the student-athlete can terminate the NIL agreement at issue

 7   to avoid risking eligibility. This process is narrower, fairer, and more administrable than what exists

 8   today.

 9            The Court asked important questions about Defendants’ ability, under the Agreement, to

10   prohibit certain third-party payments by entities and how allowing the NCAA to exercise such

11   authority would impact class members. The parties have made changes in the Settlement

12   Agreement language to clarify these provisions so that it is explicit that the Agreement is only

13   allowing the continuation of existing NCAA rules which already prohibit so-called “faux” NIL

14   payments in narrow and more objectively defined circumstances. But the critical inquiry for the

15   Court in evaluating this provision of the Agreement is whether permitting this one category of

16   NCAA NIL restrictions to continue to exist is fair and reasonable to the injunctive class where it is

17   more than offset by the tens of billions of dollars in other benefits the Agreement allows. That is

18   because the question before the Court is whether the Settlement Agreement as a whole comes

19   within a range of fairness and adequacy to the class. Vasquez v. USM Inc., 2015 WL 12857082, at

20   *2 (N.D. Cal. Apr. 13, 2015). Settlements are the product of negotiations and compromise, and it

21   is not relevant to ask “whether the final product could be prettier, smarter or snazzier, but whether

22   it is fair, adequate, and free from collusion.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th

23   Cir. 1998), overruled on other grounds by Wal-Mart Stores, Inc. v. Dukes, 564 338 (2011).

24            The answer to this controlling question is an unequivocal “yes,” particularly considering

25   the substantial direct payments that will be available to Division I college athletes at a percentage

26   of revenues analogous to professional athletes, along with the other benefits provided by the

27   Injunctive Relief Settlement. There can be no doubt that class members will collectively receive a

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 1   vastly larger—not a smaller—amount of payments and benefits under the injunctive settlement than

 2   they would be able to receive under existing NCAA rules.

 3          Moreover, the Court should assess the adequacy of the settlement against the risk of future

 4   litigation. Considering prior rulings by the Court and the Ninth Circuit, there is a real risk that

 5   Plaintiffs could lose or that any injunctive relief ordered would not approach the settlement. The

 6   O’Bannon and Alston trials (and appeals) resulted in injunctions permitting additional cash

 7   payments of a few thousand dollars per student, per year (cost-of-attendance payments in

 8   O’Bannon, and academic incentive payments in Alston). The settlement here provides up to 22

 9   percent revenue sharing over the next ten years—billions in new benefits for college athletes that

10   will total more than a million dollars for many athletes per year. Further litigation is not only

11   uncertain in outcome but certain in delaying the benefits of that relief for future college athletes

12   who may graduate before any new relief can be provided through litigation.

13          Moreover, if future student-athletes believe that the NCAA’s rules, as amended by this

14   Settlement Agreement, continue to violate the law, they will have the opportunity to object to it.

15   And in the unlikely event that future student-athletes wish to sue for damages notwithstanding the

16   challenges that such a lawsuit would have given the substantial additional benefits flowing from

17   the injunctive settlement if approved by this Court, they can do so, consistent with Paragraph 46 of

18   the Settlement Agreement, 1 by having a lawyer of their choosing sue. So, on balance, permitting

19   Defendants to retain some existing rules that prohibit affiliated parties from providing faux NIL

20   payments that are not actual commercial transactions—is a fair exchange for the tremendous

21   benefits the settlement provides.

22          In response to other questions raised by the Court at the hearing about conflicts of interest,

23   Class Counsel consulted with Professor Robert H. Klonoff, a leading expert on class actions,

24   including the settlement approval process and class conflicts. In a declaration accompanying this

25   supplemental submission, Professor Klonoff confirms that there is no basis to conclude that the

26      1
           Paragraph 46 of the Settlement Agreement states: “Any and all claims by any Division I
     student-athlete seeking to challenge the structure or otherwise modify the Injunctive Relief
27   Settlement, or alleging antitrust or other violations of law based on Defendant’s implementation of
     the Injunctive Relief Settlement, must, to the fullest extent legally permissible, be asserted
28   exclusively in the Action.”
                                                      -3-
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 1   damages and injunctive relief classes in this action required separate representation; in fact, such

 2   separate representation would have been undesirable and could result in negative consequences for

 3   the classes. Professor Klonoff also surveyed the case law and found that courts, including in the

 4   Ninth Circuit, routinely approve damages and injunctive class settlements without separate counsel.

 5   Indeed, just last year, lead counsel for the objectors raising this issue—the Colorado Objectors—

 6   successfully secured approval of a class action settlement in this District where they simultaneously

 7   negotiated terms for both injunctive relief and damages claims. 2 And that was done without any

 8   indication that counsel took the phased, compartmentalized negotiation approach here, which

 9   Professor Klonoff explains is strongly supported by the well-accepted practice of phased

10   negotiations of class recovery and attorneys’ fees. Cited herein are several cases where courts found

11   that compartmentalized settlement negotiations provided structural assurance of adequate and un-

12   conflicted representations of settlement classes. Professor Klonoff also explains that the leading

13   case cited by objectors, In re Payment Card Interchange Fee & Merch. Disc. Antitrust Litig., 827

14   F.3d 223 (2d Cir. 2016), itself recognized that there is no per se ruling requiring separate

15   representation of damages and injunctive relief classes, and that the relevant facts of that case bear

16   little resemblance to those here, where there was no trade off in benefits between classes.

17          Indeed, in all the cases cited by Objectors, including the Supreme Court decisions in Ortiz 3

18   and Amchem, 4 there were unaddressed structural conflicts that rendered un-conflicted

19   representation impossible and/or there was clear evidence that counsel’s simultaneous

20   representation of different classes or claims resulted in counsel trading off valuable relief for one

21   group of claimants or claims for the benefit of others. Here, the opposite is true: The settlement

22   opens the door to billions of dollars in new compensation for the Injunctive Relief Class every year;

23   the settlement does not bind future student-athletes members to a perpetual release of all claims;

24   and the settlement does not release claims against unchallenged NCAA rules. Then, after the

25   injunctive settlement terms were fully negotiated, Class Counsel was able to negotiate billions of

26      2
          Senne v. Kansas City Royals Baseball Corp., 2023 WL 2699972, at * 16 (N.D. Cal. Mar. 29,
     2023), aff’d 2023 WL 4824938 (9th Cir. June 28, 2023).
27
        3
          Ortiz v. Fibreboard Corp., 527 U.S. 815 (1999).
28      4
          Amchem Prods. v. Windsor, 521 U.S. 591 (1997).
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 1   dollars in relief for the damages classes through separate negotiations. At no time did any conflict

 2   of interest impact the negotiations or the settlement terms.

 3          The Court also asked questions about the adequacy of the class representatives for the

 4   claims challenging Defendants’ scholarship rules, in particular with respect to claims on behalf of

 5   partial scholarship recipients. Plaintiffs believe that their existing representatives are adequate, but

 6   in response to the suggestion of Court, now propose to add an additional class representative,

 7   Nicholas Solomon, in the [Proposed] Third Amended Complaint (concurrently submitted

 8   herewith), a partial scholarship recipient who unquestionably has standing for these claims and will

 9   be an adequate class representative.

10          In further response to the Court’s questions and directions, the parties also have amended

11   the Settlement Agreement to expressly provide that the release of claims by class members does

12   not extend to any Fair Labor Standards Act or similar labor law claims, any claims asserted against

13   the Ivy League rule in the Choh litigation, or any Title IX claims. Plaintiffs have also modified the

14   notice and claim documents (concurrently submitted herewith) to address the various questions and

15   concerns raised by the Court.

16          In sum, for the reasons discussed in this supplemental brief and accompanying documents,

17   as well as those provided in previous briefing, Plaintiffs respectfully request that the proposed

18   Amended Settlement Agreement be preliminarily approved and that notice be directed to the

19   Settlement Classes.
                                            II.     DISCUSSION
20
     A.     The provision in the Settlement Agreement that permits Defendants to continue
21          some of their existing prohibitions against certain third-party payments improperly
            characterized as NIL, as revised after this Court’s comments, is a small and
22          appropriate aspect of an overall settlement compromise that will lead to
            revolutionary changes significantly benefitting the Injunctive Relief Class.
23
            At the preliminary approval hearing, this Court asked about Article 4, Section 3 of the
24
     Injunctive Relief Settlement concerning regulation of third-party NIL payments from certain
25
     entities and individuals affiliated with the schools (referred to hereinafter as “Section 3”) and tasked
26
     the Parties with revisiting this section for possible clarifying changes. The Parties have now revised
27
     Section 3 and related provisions to clarify and narrow who these regulations apply to and to clarify
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 1   that the section merely permits the continuation of existing NCAA prohibitions contained in the

 2   current rules. See Am. IRS Art. 1 § 1, Art. 4 § 3 (discussed infra).

 3          The issue before the Court now is whether the Injunctive Relief Settlement as a whole—

 4   including Section 3 as revised and clarified—reflects an agreement that at this preliminary stage,

 5   “falls within the range of possible approval,” 5 “such that notice may be given to the class and the

 6   class may have a full and fair opportunity to consider the proposed [settlement] and develop a

 7   response.” 6 Plaintiffs explain below that the answer to that question is a resounding “yes.” The

 8   Injunctive Relief Settlement, including the revised Section 3, reflects in the aggregate an

 9   outstanding, ground-breaking result for the class. There is also nothing in Section 3 that presents

10   an obstacle to settlement approval. Indeed, that section constitutes an improvement for class

11   members with respect to the clarity and fairness of enforcement of existing NCAA rules that

12   prohibit these types of payments.

13          The Objectors’ pleas for the settlement to provide for even greater relief by banning all

14   existing NCAA NIL and compensation rules are not a reason to deny approval. That is because a

15   settlement is “by its nature a compromise.” Alvarez v. Sirius XM Radio Inc., 2021 WL 1234878, at

16   *7 (C.D. Cal. Feb. 8, 2021) (overruling objection to settlement that allowed defendant to continue

17   charging a fee after settlement because “a full recovery is often not possible in a settlement . . . and

18   a partial recovery does not render a settlement unreasonable” (internal quotation marks omitted));

19   see Hanlon, 150 F.3d at 1026 (“[settlement] is the offspring of compromise[,] the question is . . .

20   not whether the final product could be prettier, smarter or snazzier, but whether it is fair, adequate,

21   and free from collusion”). Plaintiffs explained in their previous briefing that the Injunctive Relief

22   Settlement represents a revolutionary transformation of college sports that will vastly benefit class

23   members. See Mot. at 21–24; Reply at 17–20. Perhaps most prominently, the injunction introduces

24   rule changes that will allow direct payments by schools to Division I college athletes that, in

25

26       5
           See Vasquez, 2015 WL 12857082, at *2 (Preliminary approval is not a dispositive assessment
     of the fairness of the proposed settlement; rather, preliminary approval assesses whether the
27   proposed settlement falls within the “range of possible approval.”); accord Sonoma Cnty. Ass’n of
     Retired Emps. v. Sonoma Cnty., 2016 WL 7743407, at *2 (N.D. Cal. Dec. 7, 2016) (Wilken, J.).
28       6
           Nitsch v. DreamWorks Animation SKG Inc., 2017 WL 399221, at *1 (N.D. Cal. Jan. 19, 2017).
                                                      -6-
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 1   conjunction with other benefits, amounts to 51% of relevant revenues—meaning college athletes

 2   may obtain a similar percentage of revenues as professional athletes in the NFL, NBA, and other

 3   professional leagues. Rascher Decl., ¶¶ 39, 82–87. Plaintiffs’ expert has conservatively estimated

 4   that this likely will result in more than $20 billion flowing to injunctive relief class members over

 5   the next ten years—a massive increase over the status quo. Id., ¶¶ 84–85 & Ex. 25.

 6          And these benefits are not just theoretical. News article after news article emphasizes that

 7   a host of schools, particularly within the Power Five, are gearing up to spend as much as they can

 8   on college athletes under this new system, with many schools publicly declaring they will hit the

 9   maximum amount allowed under the Settlement Agreement. 7 This is not surprising: The

10   prospective loosening of restrictions to allow increased payments, and student-athletes’ ability to

11   transfer between schools, create competitive pressures that will induce schools to provide as much

12   as they can to college athletes lest they transfer to another school that elects to provide more. 8

13          In addition to challenging the restrictions on direct institutional payments, the House

14   lawsuit—originally filed in June 2020, a year before the Interim NIL Rules, and amended following

15   those rules’ enactment—broadly challenged Defendant’s third-party NIL restrictions, including

16   restrictions imposed by the Interim NIL Rules. See, e.g., ECF No. 164 at 3 (discussing the Interim

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18       7
           As an example, the University of Tennessee recently announced that it will add a 10% “talent
     fee” to ticket prices to raise money to give to players, with the Tennessee athletic director
19   anticipating that post-settlement his school could provide $30 million more to athletes per year,
     including a “raise [to] the number of available athletic scholarships.” See
20   https://www.on3.com/news/tennessee-to-add-10-percent-talent-fee-to-ticket-prices. See also, e.g.,
     Joey Kaufman, Ohio State to pay athletes maximum allowed following NCAA settlement, AD Ross
21   Bjork says, The Columbus Dispatch (June 20, 2024), https://perma.cc/GAB7-49K7; Seth Emerson,
     How is Georgia preparing for revenue sharing following House v. NCAA settlement? The Athletic
22   (May 23, 2024) https://perma.cc/26J6-MPYW; Matthew Sgroi, TCU to participate at highest level
     in ‘unprecedented’ revenue-sharing model for student athletes, Fort Worth Report (July 1, 2024)
23   https://perma.cc/UL9X-3GF8; Alejandro Zuniga, Michigan to pay athletes maximum allowed
     following NCAA settlement, AD Warde Manuel says, 247 Sports (August 28, 2024),
24   https://247sports.com/college/michigan/article/michigan-to-pay-athletes-maximum-allowed-
     following-ncaa-settlement-ad-warde-manuel-says-235246393/; Matt Baker, USF football plans to
25   ‘max out’ on NCAA revenue sharing with players, Tampa Bay Times (July 23, 2024),
     https://www.tampabay.com/sports/bulls/2024/07/23/usf-football-aac-media-days-ncaa-revenue-
26   sharing/.
         8
           The settlement agreement also provides for anti-collusion protections to prevent schools from
27   limiting their competition to make payments to athletes. The Injunctive Settlement Agreement,
     Article 5, Section 1, has been slightly modified to make it crystal clear that such anti-collusion
28   provisions will not impede future collective bargaining.
                                                      -7-
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 1   NIL Rules). In the Injunctive Relief Settlement, Plaintiffs obtained an agreement that prohibits any

 2   restrictions on third-party NIL at all, except the Settlement’s limited provisions allowing

 3   Defendants to prohibit payments by institutional affiliates that would circumvent the Settlement

 4   Agreement and are not true NIL payments at all. See Am. IRS Art. 2 § 3. This will permanently

 5   give the official green light for the vast majority of student-athletes’ NIL deals with third parties

 6   (which do not count against the Pool limit), on top of the millions in direct payments now made

 7   possible by the settlement. The settlement also eliminates the NCAA’s prior scholarship limits and

 8   replaces them with roster limits for all sports that are higher than the previous scholarship caps.

 9   These developments, standing alone, are massive wins for the Settlement Classes.

10          As part of the settlement compromise, the injunctive settlement does not prohibit the NCAA

11   from continuing its existing rules that prohibit certain affiliated third parties from making “pay for

12   play” payments that are contingent on an athlete coming to or continuing enrollment at a particular

13   school, even if they are facially characterized as NIL payments. These NCAA rules avoid

14   circumvention of the negotiated limits on revenue sharing established by the Pool calculation (as is

15   the case in professional leagues, where there are rules to prohibit circumvention of salary caps).

16   The prohibitions permitted in Section 3 are narrower than prohibitions this Court and the Ninth

17   Circuit previously upheld. Moreover, Section 3 only permits the NCAA to continue to apply its

18   existing prohibition on certain NIL payments to a narrow group of individuals and entities (further

19   tailored following this Court’s directions, see discussion infra), rather than all third parties. See

20   Am. IRS Art. 1 § 1. In yet another win for college athletes, other provisions create new procedural

21   due process protections and transparency for college athletes in the enforcement process of these

22   few remaining NIL rules. Specifically, the Injunctive Relief Settlement mitigates the risk of abuse

23   by the NCAA in its interpretation and enforcement of the rules permitted by Section 3 because, for

24   the first time in the NCAA’s long enforcement history, neutral arbitration will be available to

25   challenge the NCAA’s enforcement of such rules against athletes or their schools. See IRS Art. 6 §

26   2. The NCAA will no longer be the prosecutor, judge, and jury for these restrictions.

27          At the preliminary approval hearing, the Court expressed three concerns about Section 3.

28   First, the Court indicated that Section 3 potentially applied to an overbroad and unclear set of

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 1   actors. The Court specifically focused on the definition of “boosters,” because in the initial

 2   settlement proposed to the Court, Section 3 applied to boosters as defined in the Agreement. See

 3   IRS Art. 4 § 3. Of note, the NCAA’s existing Interim NIL Rules and guidance that preceded the

 4   settlement, like the initial settlement agreement, defined “boosters” as “representatives of athletic

 5   interests,” which is how that term is described in the NCAA Bylaws. 9 So, this was not new.

 6   Nonetheless, in light of the Court’s guidance, the Parties have clarified Section 3 so that it now

 7   applies only to a narrower and better-defined group of entities and individuals who are closely

 8   affiliated with the schools. The Court noted at the hearing that the definition of “booster” under

 9   NCAA rules is broad, including anyone who has provided a donation to obtain season tickets, made

10   financial contributions to an athletic department, provided benefits to student-athletes or their

11   families, or “[b]een otherwise involved in promoting university athletics.” 10 Following the hearing,

12   the Parties replaced the defined term “booster” in the injunctive settlement with the term

13   “Associated Entity or Individual,” a narrower, more targeted, and objectively defined category that

14   does not automatically sweep in “today’s third party donor,” Tr. 79:20–23, or a former student-

15   athlete who wishes to continue to support his/her alma mater, id. Tr. 78:22–23. See Am. IRS Art.

16   1 § 1 (defining “Associated Entity or Individual”).

17          Under the amended injunctive settlement, the NIL rules that the NCAA may continue to

18   enforce under Section 3 will be limited to deals that involve an “Associated Entity or Individual,”

19   rather than the more broadly defined “boosters.” Indeed, as the settlement currently stands, all third-

20   party NIL deals that do not involve “Associated Entities or Individuals” are permissible (an

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           Compare Settlement Agreement § A.1(f) (defining booster, as used in the prior Section 3 (IRS
22   Art. 4, § 3)) with Interim Name, Image and Likeness Policy Guidance Regarding Third Party
     Involvement, dated May 2022, available at https://ncaaorg.s3.amazonaws.com/ncaa/NIL/
23   May2022NIL_Guidance.pdf (“it is important to understand how representative of athletics interest
     (booster) is defined by NCAA legislation” and then quoting from that definition (emphasis added))
24   & Name, Image and Likeness Policy Question and Answer, dated July 2022, available at https://
     ncaaorg.s3.amazonaws.com/ncaa/NIL/July2022NIL_DIInterimPolicy.pdf (similarly defining
25   “who is considered a booster” and adding: “If an individual or NIL entity’s (e.g., collective) sole
     or primary purpose is to engage in NIL activities with student-athletes from a specific institution,
26   such individual or NIL entity would be considered a booster. Further, if an individual or NIL entity
     is involved in recruiting activities for NIL purposes (e.g., collective engaging in recruiting
27   activities), such an individual or entity would trigger booster status.”).
         10
            See https://www.ncaa.org/sports/2013/11/27/role-of-boosters.aspx#:~:text=Boosters%2C%2
28   0referred%20to%20by%20the,promoting%20the%20university's%20athletics%20programs.
                                                      -9-
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 1   improvement on the status quo, because the Interim NIL Rules’ limitations apply to all third

 2   parties), and NIL payments by the narrowly defined “Associated Entities or Individuals” are also

 3   not automatically banned. Instead (and unlike all other third-party NIL deals), they simply receive

 4   more scrutiny to determine if they come within the existing NCAA prohibitions on “faux” NIL

 5   payments that are not actual commercial transactions. And if that scrutiny results in a deal being

 6   disallowed, student-athletes can reform and resubmit that deal for further consideration, or they or

 7   their institutions can challenge that determination before a neutral arbitrator. Am. IRS Art. 6 §§

 8   2(a)-(b). Those arbitrations will occur quickly, and importantly, no penalties can be imposed while

 9   arbitration is pending absent the arbitrator’s finding good cause. Id., Art. 6 § 2(d). And if the

10   arbitrator sides with enforcement, then the student-athlete can terminate the agreement at issue to

11   avoid risking eligibility. Id., Art. 4 § 3(e). This process is narrower, fairer, and more administrable

12   than what exists today.

13           The changes to Section 3 made since the hearing address the Court’s concern about

14   sweeping in ordinary supporters of a school in other ways. For example, Section 3 now states that

15   for individuals not affiliated with a collective or involved with recruitment, the rules will only apply

16   if the individual “directly or indirectly (including contributions by an affiliated entity or family

17   member) has contributed more than $50,000 over their lifetime to the athletics department of a

18   particular Member Institution” or collective. See Am. IRS Art. 4 § 3. This threshold should further

19   allay concerns that the rules will impact loyal alumni who make modest contributions to their

20   former school.

21           Second, at the hearing, the Court expressed concern that Section 3 could permit the NCAA

22   to impose new prohibitions on third-party NIL payments that are not in the existing rules. It is true

23   that Defendants’ previous NIL guidance emphasized that third parties were prohibited from “paying

24   for play” or making inducement payments for recruitment, 11 while the current Section 3 permits the

25   NCAA to have clarifying rules requiring that NIL payments from Associated Entities or Individuals

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        11
             See, e.g., Name, Image and Likeness Policy Question and Answer, available at
27   https://ncaaorg.s3.amazonaws.com/ncaa/NIL/NIL_QandA.pdf (explaining that under Interim NIL
     Policy athletes may enter into NIL agreements with boosters provided the agreement “is not an
28   impermissible inducement and it does not constitute pay-for-play”).
                                                     -10-
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 1   must be for a “valid business purpose” and “at rates and terms commensurate with compensation

 2   paid to similarly situated individuals with comparable NIL value who are not current or prospective

 3   student-athletes at the Member Institution.” See Am. IRS Art. 4 § 3. However, that is not a new

 4   prohibition. Rather, as the modified language makes explicit, Section 3 only permits the NCAA to

 5   continue to apply existing rules which prohibit certain types of payments by affiliated parties that

 6   are characterized as NIL but, in reality, are just pay-for-play compensation from a third party. The

 7   clarifying rules permitted by Section 3 simply provide clearer guidance for how such payments will

 8   be evaluated to determine whether they fall within the existing NCAA prohibitions. This is not

 9   something new: the May 2022 NIL Policy Guidance Regarding Third Party Involvement stated that

10   “NIL agreements must be based on an independent, case-by-case analysis of the value that each

11   athlete brings to an NIL agreement as opposed to providing compensation or incentives for

12   enrollment decisions (e.g., signing a letter of intent or transferring), athletic performance (e.g.,

13   points scored, minutes played, winning a contest), achievement (e.g., starting position, award

14   winner) or membership on a team (e.g., being on roster).” 12 The settlement language in Section 3

15   merely permits a clarification of the existing broad rule prohibiting certain types of third-party

16   payments characterized as NIL, and further limits the prohibition to a narrow category of

17   Associated Entities or Individuals, with new clarifying language sine the hearing stating that the

18   Agreement only allows the “NCAA and Conference Defendants” to “continue, and pass new rules

19   further clarifying and implementing, their existing prohibitions.” See Am. IRS Art. 4 § 3 (emphasis

20   added). Moreover, as previously noted, what has changed from the existing NIL rules is that the

21   NCAA will no longer act as judge and jury to determine whether a payment is permissible. In sum,

22   Section 3 merely permits clarifying rules to provide clear guidance along with the injunctive

23   settlement’s new and fair arbitration process with neutral decision-makers.

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           See Interim Name, Image and Likeness Policy Guidance Regarding Third Party Involvement,
25   dated May 2022, available at https://ncaaorg.s3.amazonaws.com/ncaa/NIL/May2022NIL_
     Guidance.pdf; see also Name, Image and Likeness Policy Question and Answer, available at
26   https://ncaaorg.s3.amazonaws.com/ncaa/NIL/NIL_QandA.pdf (explaining that the following was
     prohibited under the interim rules: “NIL agreement without quid pro quo (e.g., compensation for
27   work not performed). Student-athlete NIL agreements should include the expected NIL deliverables
     by a student-athlete in exchange for the agreed upon compensation and student-athletes must be
28   compensated only for work actually performed.”).
                                                     -11-
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 1          Third, the Court expressed concern that Section 3 could involve “taking things away from

 2   people.” Tr. 80:20. As an initial matter, as explained supra, the existing third-party NIL rules

 3   already prohibit pay-for-play or inducement payments by third parties disguised as NIL payments

 4   so no payments currently permitted by the terms of existing NCAA rules will suddenly become

 5   prohibited. Moreover, to the extent members of collectives (or anyone else who might fall into the

 6   “Associated Entity or Individual” category) operate a business that provides goods or services to

 7   the public for profit, those entities can enter into NIL agreements—i.e., sponsorship or endorsement

 8   agreements with student-athletes for use of their NIL for the promotion or endorsement of such

 9   goods and services—at fair market value—without limitation and without counting against the Pool

10   limit. Collectives and other Associated Entities or Individuals may also act as marketing agents to

11   find and facilitate sponsorship or endorsement agreements between student-athletes and businesses.

12   So long as those contracting businesses do not themselves constitute Associated Entities or

13   Individuals, there is zero regulatory obstacle to any such sponsorship or endorsement agreements.

14   Individuals or entities currently providing money to collectives also can redirect those amounts to

15   their preferred institution so that the school can itself make direct payments to athletes without any

16   limitation other than the Pool limit. There is thus little reason to think that there will be situations

17   where a class member receiving a current NIL payment from an Associated Entity or Individual

18   will not be able to receive comparable, or even greater payments, under the terms of the Settlement

19   either from the institution itself or from a combination of direct payments from the institution and

20   permissible third-party payments for the commercial use of NIL. If there are boosters who would

21   like to make payments for the athletes’ benefit, they will have a variety of ways to make such

22   payments under the Settlement Agreement, including by making contribution to the schools, who

23   can then make the payments to the athletes. Tr. 79:11-16.

24          The post-Settlement picture is even brighter for college athletes because it is far from clear

25   that NIL collectives actually provide lucrative deals at the levels suggested in the media. Those

26   reports are unconfirmed hearsay. Class Counsel collected extensive information about NIL deals

27   as part of discovery in House to support their claim for lost NIL opportunities. That evidence

28   consisted of reported NIL transactions for student-athletes at 137 Division I schools. All told, the

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 1   data collected indicated that roughly $211 million in payments went to roughly 20,000 athletes over

 2   a two-year period (2021-2023). See Rascher Merits Report ¶ 252. Even if the data received was not

 3   comprehensive, whether viewed in the aggregate or as an average, these numbers are far lower than

 4   what media reports about collectives would suggest, and vastly outpaced by the over $20 billion in

 5   new institutional spending permitted by the Injunctive Relief Settlement. These new institutional

 6   payments would also come without the risks attending alleged booster or collective payments.

 7   Those risks include boosters not meeting promises to student-athletes, 13 and efforts to lock up

 8   student-athletes’ future NIL rights, something that is precluded under the Settlement Agreement. 14

 9           Particularly after the revisions made in response to the Court’s comments, it is clear that

10   Section 3 only permits the NCAA to continue certain of its existing rules prohibiting specific forms

11   of NIL payments by Associated Entities or Individuals and that no payments currently permitted

12   by the NCAA rules will now be barred by the rules the NCAA may continue under Section 3.

13   Additionally, Section 3 reduces the number of third-party entities subject to NCAA enforcement.

14   And on top of all of that, the injunctive settlement adds greatly enhanced substantive and procedural

15   protections for college athletes that have substantial NIL value and represent a marked

16   improvement from the status quo third-party NIL rules, which allow the NCAA to be the judge and

17   jury for all NIL-related discipline.

18           Moreover, and most importantly, as the cases cited in the beginning of this section explain,

19   compromise is the nature of settlement, and the question before the Court is whether the Settlement

20   Agreement as a whole comes within the range of fairness and adequacy to the Court. Vasquez, 2015

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            See, e.g., Rashada v. Napier, et al., No. 3:24-cv-00219-MCR-HTC (N.D. Fla. May 21, 2024),
22   Dkt. 37 (alleging star high school quarterback recruit was induced to flip his commitment from one
     university to another in exchange for a multi-million-dollar NIL deal with a collective—which then
23   never materialized); Memorandum from the Members, Subcomm. on Innovation, Data, and Com.
     to the Comm. Majority Staff Regarding Legislative Hearing Entitled “NIL Playbook: Proposal to
24   Protect        Student      Athletes’        Dealmaking       Rights”        (Jan.       16,   2024),
     https://d1dth6e84htgma.cloudfront.net/01_18_2024_IDC_NIL_Hearing_Memo_2b714cbf5a.pdf
25   (a recent report about a UNLV student-athlete sitting out the rest of their season because of failed
     NIL commitments).
26
         14
            Compare, e.g., Dexter v. Big League Advance Fund II, No. 1:23-cv-00228-AW-HTC (N.D.
27   Fla. Sept. 1, 2023), Dkt. 1 (seeking to void a contract entered into by NFL Bears rookie while he
     was a student-athlete that gave him $436,485 in exchange for use of his NIL but required him to
28   give up 15% of his pre-tax NFL earnings for 25 years if he later played in the NFL), with Am. IRS
     Art. 2, § 2 (prohibiting institutions from entering into licenses that last past eligibility).
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 1   WL 12857082, at *12. When considering the agreement as a whole, it is a more than a reasonable

 2   compromise for the injunctive class to accept the (now narrowed) Section 3 in light of the

 3   remarkable benefits that the Injunctive Relief Settlement will provide to the class, including the

 4   changes to the NCAA’s compensation rules to permit schools to provide direct payments that along

 5   with existing benefits will be equivalent to compensation provided in the professional leagues, and

 6   to permanently allow true third-party NIL for the length of the injunctive relief term. 15 This

 7   compromise also was necessary for the settlement to include these benefits. Section 3 was an

 8   essential part of the compromise for Defendants, and it is the overall compromise, reflected in the

 9   Settlement Agreement as a whole, that is clearly in the best interests of the injunctive class. Whether

10   particular provisions of the overall settlement could have been approached differently or how they

11   compare to “a hypothetical speculative measure of what might have been achieved” is immaterial.

12   Officers for Justice v. Civ. Srv. Comm’n of City & Cnty. of San Francisco, 688 F.2d 615, 625 (9th

13   Cir. 1982). The controlling question for the Court is whether the overall deal is fair and reasonable

14   to the class.

15            The overall compromise achieved through the settlement is particularly beneficial to the

16   injunctive class in light of the risks associated with the alternative—continuing this case and

17   potentially losing or obtaining lower-value injunctive relief for the class—which is a factor courts

18   must consider in determining whether to approve a settlement. See Fed. R. Civ. P. 23(e)(2)(C) (in

19   assessing settlement, court should consider whether relief was adequate, taking into account, inter

20   alia, “the costs, risks, and delay of trial and appeal”); see also Mot. at 19-21 (cases explaining that

21   risks of continuing litigation, particularly in antitrust cases, which are particularly risky, should be

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           See also Zakikhani v. Hyundai Motor Co., 2023 WL 4544774, at *6 (C.D. Cal. May 5, 2023)
23   (“mere[] argu[ments] that the settlement terms for Class Members could have been better ‘does not
     mean the settlement [is] not fair, reasonable or adequate’” (quoting Hanlon, 150 F.3d 1011at
24   1027)). Monday-morning quarterbacking does not impede settlements. Asghari v. Volkswagen Grp.
     of Am., Inc., 2015 WL 12732462, at *26 (C.D. Cal. May 29, 2015 ) (“As an initial matter, the mere
25   fact that the benefits provided under the settlement agreement will not make all class members
     ‘whole,’ and/or the possibility that a ‘better’ settlement might have been reached, do not provide a
26   sufficient basis upon which to conclude that the settlement agreement is unfair.”); Browne v. Am.
     Honda Motor Co., Inc., 2010 WL 9499072, at *18 (C.D. Cal. July 29, 2010) (granting final approval
27   of settlement and recognizing that “[w]hile the proposed settlement does not perfectly compensate
     every member of the class, it is unlikely that any settlement of the claims of a class of more than
28   740,000 members would achieve such a result”).
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 1   considered in determining whether to approve settlement). That risk here is real, considering that

 2   this Court held, only five years ago, that rules preventing unlimited pay-for-play cash compensation

 3   had a procompetitive justification, and specifically held that it would allow rules designed to

 4   maintain the demarcation between college sports and a professional sports league where athletes

 5   are provided compensation unrelated to education and “very large salaries.” Alston, 375 F. Supp.

 6   3d at 1082. That aspect of this Court’s post-trial decision was not overturned on appeal. See In re

 7   Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1264–65

 8   (9th Cir. 2020). There is thus no assurance that the class could obtain the type of extensive

 9   injunctive relief—yielding a 51 percent revenue share for Division I athletes—provided by the

10   settlement through continued litigation.

11          Moreover, the Alston injunction, where the Court limited the cash compensation to $5,980

12   (the amount that the NCAA permitted for athletic achievement awards) further shows the risk that

13   a litigated injunction could provide far less relief than what plaintiffs request. See Alston, 375 F.

14   Supp. 3d at 1109-10 (post-trial order); Permanent Injunction, Alston, No. 14-md-02541, ECF No.

15   1163 (N.D. Cal. Mar. 8, 2019). The settlement here provides far more relief than the injunctions

16   obtained in any of the prior athlete compensation cases against the NCAA, including O’Bannon

17   and Alston, which were litigated through trial and judgment.

18          Additionally, if the settlement is approved, increased compensation could flow to college

19   athletes as early as 2025. And given the likely extensive appellate process if this case were brought

20   to trial, obtaining that relief as soon as possible without going through additional years of litigation

21   strongly weighs in favor of approving this Settlement so that class members do not continue to

22   leave their institutions without any relief. See, e.g., Stephens v. US Airways Grp., Inc., 102 F. Supp.

23   3d 222, 227 (D.D.C. 2015) (‘“[T]he delay in providing relief to the class if this case were to be

24   litigated is a factor strongly supporting the compromise reached by the parties.’” (quotation

25   omitted)); Trombley v. Nat’l City Bank, 826 F. Supp. 2d 179, 195 (D.D.C. 2011) (same).

26          Finally, if future student-athletes believe that the NCAA’s rules, as amended by this

27   Settlement Agreement, continue to violate the law, they will have the opportunity to object to the

28   Settlement Agreement. And in the unlikely event that future student-athletes wish to sue for

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 1   damages notwithstanding the challenges that such a lawsuit would have given the substantial

 2   additional benefits flowing from the injunctive settlement, they can do so, consistent with

 3   Paragraph 46 of the Settlement Agreement, by having a lawyer of their choosing sue.

 4   B.     Separate counsel is not required for Injunctive Relief and Damages Classes.
 5          To help respond to the questions the Court asked on this issue at the preliminary approval

 6   hearing, Class Counsel consulted with Professor Robert H. Klonoff, a renowned expert on class

 7   actions, including settlement approval and class conflicts. See Klonoff Decl., ¶¶ 4–14. His

 8   accompanying Declaration offers strong, additional confirmation that separate counsel was

 9   unnecessary (and undesirable) for the settlement of both the damages and injunctive relief claims

10   in this action. Professor Klonoff explains that courts across the country—including the Second and

11   Ninth Circuits and district courts within them—regularly approve settlements where the same

12   attorneys negotiate injunctive relief and damages. See Klonoff Decl., ¶¶ 37–39. While there is

13   diversity among class members, there are no conflicts “that go[] to the very heart of the litigation”

14   and thus no impediment to counsel negotiating settlement on behalf of injunctive relief and

15   damages members. In re Volkswagen “Clean Diesel” Marketing, Sales Practices, and Prods. Liab.

16   Litig., 895 F.3d 597, 608 (9th Cir. 2018).

17          Indeed, there is no per se rule against the same counsel representing both the damages and

18   injunctive relief classes. See Payment Card, 827 F.3d at 235 (making clear it was not holding “that

19   (b)(3) and (b)(2) classes necessarily and always require separate representation”). The Colorado

20   Objectors know this: just last year, lead counsel for the Colorado Objectors successfully secured

21   approval of a class action settlement in this District where they simultaneously negotiated terms for

22   both injunctive relief and damages claims (without any indication that counsel took the prophylactic

23   steps that Class Counsel adopted here). Senne, 2023 WL 2699972, at * 16 (N.D. Cal. Mar. 29,

24   2023), aff’d 2023 WL 4824938 (9th Cir. June 28, 2023).

25          Critically, the negotiation and terms of the settlement here—particularly the

26   compartmentalized settlement negotiations structure that Professor Klonoff calls the “gold

27   standard” to address potential conflicts, Klonoff Decl., ¶ 43 & n.52 (collecting authorities)—

28   “provide structural assurance of fair and adequate representation.” Fata v. Pizza Hut of Am. Inc.,

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 1   2016 WL 7130932, at *3 (M.D. Fla Oct. 31, 2016) (“[I]n particular, the extensive, arms-length

 2   negotiations performed separately by counsel on behalf of each Subclass, with the assistance of an

 3   experienced mediator, at least at the conditional certification stage, provide ‘structural assurance of

 4   fair and adequate representation.’”); see also, e.g., Stephens v. Farmers Rest. Grp., 329 F.R.D. 476,

 5   485 (D.D.C. 2019) (holding “that the absent Rule 23 class members were adequately represented”

 6   based on the “representations” that counsel “negotiated the settlement amounts for the [two groups]

 7   separately” and “the apparent reasonableness of the settlement terms”).

 8           Further, Professor Klonoff opines that because appointing separate counsel is merely one

 9   option to address potential conflicts—and a costly and risky one at that—the careful, phased

10   negotiations implemented by the Parties here more than adequately addressed any potential

11   divergence of interest between the injunctive relief and damages classes. See 1 McLaughlin on

12   Class Actions § 4:45 (20th ed. 2023) (“Absent the kind of stark divergence of interests that is

13   present in mass tort cases between present and future claimants, the district court has considerable

14   discretion to decide whether appointment of separate counsel is required for a particular subclass.”).

15           The concerns that animated the cases cited by the Colorado Objectors and discussed by the

16   Court at the hearing—Payment Cards, Amchem, Ortiz, and Literary Works 16—do not call for a

17   different conclusion. Those courts indicated that separate counsel was needed because there was

18   clear evidence that the rights and relief for some categories of class members had been traded away

19   to benefit others.

20           As Professor Klonoff has identified, the out-of-Circuit authority the Colorado Objectors

21   rely on to claim that the injunctive relief class required separate counsel had myriad factual

22
        16
           Colorado Objectors also mentioned Community Bank and Gonzalez at the hearing, but these
23   cases are not even remotely on point. The Third Circuit in Community Bank rejected a proposed
     settlement and remanded for further proceedings because the district court failed to conduct a
24   proper analysis of alleged inter-class conflicts and purported inadequacies of class counsel’s
     representation. In re Cmty. Bank of N. Va., 622 F.3d 275, 304–08 (3d Cir. 2010). The Circuit Court
25   “stress[ed] that [it] does not hold that class counsel are necessarily inadequate representatives for
     the class (or any subclass that is created).” Id. at 308. And Gonzalez declined to approve an
26   “indelibl[y] stain[ed]” settlement agreement. Gonzalez v. CoreCivic of Tenn., LLC, 2018 WL
     4388425, at *5 (E.D. Cal. Sept. 13, 2018). There, class counsel agreed to release certain claims
27   without securing any relief, and when the district court pointed out that discrepancy, the parties
     amended the settlement agreement to cosmetically allocate $100,000 of the “already agreed-to total
28   settlement amount” to those claims. Id.
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 1   distinctions from this case, rendering their conclusions inapplicable here. Klonoff Decl., ¶¶ 46–51.

 2   These distinctions include the facts that: (i) there was no indication that counsel in Payment Card

 3   made any effort to protect against (or even acknowledge) the myriad conflicts that permeated their

 4   settlement negotiations, and (ii) there was strong evidence that class counsel’s simultaneous

 5   negotiations of injunctive relief and damages settlements actually resulted in them trading valuable

 6   injunctive relief for enhanced damages. Id. ¶ 47. The adverse results for the Injunctive Relief Class

 7   in Payment Card were at least threefold—the Payment Card settlement (i) left vast portions of the

 8   injunctive class with worthless relief which terminated after a fixed period, (ii) while still binding

 9   them to a perpetual release of injunctive and damages claims, (iii) against all Visa and Mastercard

10   rules, including those unchallenged in the litigation. See generally Payment Card, 827 F.3d at 240.

11          None of these problems exist here. The injunctive relief that the parties negotiated is the

12   opposite of worthless; it opens the door to billions of dollars in new compensation for the Injunctive

13   Relief Class every year. The settlement does not bind injunctive relief class members to a perpetual

14   release of claims. And the settlement does not release claims against unchallenged NCAA rules—

15   for example, the settlement does not impact employment law claims. And this is all separate and

16   apart from the billions of dollars in relief obtained for the damages classes through separate

17   negotiations.

18          The absence of every Payment Card indicia of conflicts and tradeoffs between classes did

19   not happen by accident—as Professor Klonoff explains, it was the result of the structure of the

20   negotiations—and Class Counsel took great pains, with Payment Card at the front of their minds,

21   to fully and finally negotiate the injunctive relief before negotiating damages to fully protect the

22   interests of both the injunctive relief and damages classes. Klonoff Decl., ¶¶ 40–45. Against that

23   backdrop, the Court should be able to easily conclude that Class Counsel did not trade injunctive

24   relief benefits for damages (or vice versa). Id. Indeed, the separate negotiation structure ensured

25   that there was no such trading between the benefits obtained for each class. Id.

26          As for Ortiz and Amchem, those cases involved attempts to settle millions of then-present

27   and future mass tort damages claims covering decades of asbestos exposure. See Ortiz v. Fireboard

28   Corp., 527 U.S. 815, 823 (1999); Amchem Prods., Inc. v. Windsor, 521 U.S. 591 (1997). This

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 1   “elephantine mass of asbestos cases,” and the attempts to resolve them through class settlements,

 2   led the Supreme Court to proclaim that Ortiz and Amchem “suffice to show how [asbestos] litigation

 3   defies customary judicial administration and calls for national legislation.” Ortizi, 527 U.S. at 821.

 4   The primary (though not only deficiency) in these cases was that they attempted to settle pending

 5   damages claims and anticipated future damages claims, which the Supreme Court held could not

 6   be fairly compensated through a single, joint fund. Id. at 842–44. Neither case involved injunctive

 7   relief. See generally Ortiz, 527 U.S. 815; Amchem Prods., 521 U.S. 591. This makes them entirely

 8   inapposite here where no future damages claims have been released.

 9             Lastly, in Literary Works, which did not involve injunctive relief either, a single settlement

10   fund was split across class members with three categories of damages. 654 F.3d. 242, 246 (2d Cir.

11   2011). But, if damages claims for the first two categories—which were deemed to have a higher

12   chance of recovery in litigation—exceeded the fund total, claimants in the third category would

13   receive nothing. Id. The court had no assurance that class counsel did anything to account for that

14   divergent interest when it negotiated on behalf of the entire class. Id. Here by contrast, each

15   category of class members’ damages was settled for a separate amount reflecting the different

16   litigation risks and damages calculations. Moreover, class members’ recovery for one category of

17   damages is entirely independent of recovery for the other damages categories. 17

18   C.        Separate counsel is not required for the future members of the Injunctive Relief
               Class.
19
               For similar reasons, separate counsel was not required for future members of the injunctive
20
     relief class. As an initial matter, there is no requirement that there be a separate class representative
21

22         In this case, unlike in Literary Works, each category of damages claim will be compensated
          17

     through a separate fund and each class member will recover according to a neutral formula designed
23   to reflect the values of each class member’s claims. Courts routinely approve settlements where
     “different payment levels reflect the relative value of different claims.” In re Oil Spill by Oil Rig
24   Deepwater Horizon in Gulf of Mexico, 910 F. Supp. 2d 891, 918 (E.D. La. 2012), aff’d sub nom
     739 F.3d 790 (5th Cir. 2014) (courts “often” allow unitary counsel to represent classes with
25   “different payment levels reflect[ing] the relative value of different claims. . . . Such rigid formalism
     [as requiring separate subclasses with separate counsel for every potential ‘conflict’ created by the
26   different value of class claims] would produce enormous obstacles to negotiating a class settlement
     with no apparent benefit, is not required and could even reduce the negotiating leverage of the
27   class.”); see also 4 Newberg and Rubenstein on Class Actions § 13:56 (6th ed.) (“The inference
     that differential treatment is the sign of an unfair settlement can be rebutted by evidence that the
28   class members should be treated differently because they are situated differently.”).
                                                       -19-
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 1   for future athletes. See, e.g., Staton v. Boeing Co., 327 F.3d 938, 948 (9th Cir. 2003) (approving

 2   injunctive relief settlement class of Boeing employees including future employees, but rejecting

 3   the attorneys’ fee provisions of the settlement). Rule 23 mandates only that class representatives

 4   “possess the same interest and suffer the same injury” as absent class members. Class Cert. Order

 5   (ECF No. 387), at 11 (quoting Amchem Prods., 521 U.S. at 625–26). Sedona Prince and Nya

 6   Harrison easily fit that bill for both current and future college athletes. They are subject to the same

 7   NCAA and Conference Defendant rules as future athletes that limit or prohibit permissible forms

 8   and amounts of compensation and benefits.

 9            Nor does the fact that the Injunctive Relief Settlement extends for ten years render the class

10   representatives inadequate. Courts have often approved injunctive class settlements of a similar

11   length, particularly in cases resolving the class claims of athletes in the sports industry, where long-

12   term solutions are often desirable. See Mot. at 22–23 (collecting authorities). 18 The class

13   representatives secured injunctive relief previously unimaginable in college sports—e.g., revenue

14   sharing comparable to professional athletes, uncapped scholarships and neutral arbitration—for

15   themselves and future athletes. And, unlike prior long-term class action settlements for athletes

16   (e.g., White, Robertson, and Bridgeman), here, future athletes will receive notice of the settlement

17   upon entering college and will have the opportunity to object to the continuation of the settlement.

18   Id. at 14–15. Put differently, if, at some point in the future, any class member wishes to argue that

19   the settlement is no longer fair to the class, the Court will have the opportunity to consider that

20   objection at that time. In all events, in the unlikely event that future student-athletes wish to sue for

21   damages notwithstanding the challenges that such a lawsuit would have given the substantial

22   additional benefits flowing from the injunctive settlement, they can do so, consistent with

23

24       18
           The Colorado Objectors’ assertion that the narrow abrogation of White by the Supreme Court
     in Amchem “calls into question that entire line of cases” is a red herring. Tr. 57:23–58:2. In
25   Amchem, the Supreme Court criticized White for using an incomplete analysis to reject objectors’
     contentions that service awards and class counsel’s past work on similar cases rendered them
26   inadequate to represent the class. Amchem, 521 U.S. at 618; White v. NFL, 41 F.3d 402, 408 (8th
     Cir. 1994). The Supreme Court did not criticize the substantive terms or length of the White
27   settlement. Notably, the White settlement was renewed and extended, with court oversight, three
     times (in 2000, 2002, and 2006) after Amchem was decided. White v. NFL, 756 F.3d 585, 589 (8th
28   Cir. 2014).
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 1   Paragraph 46 of the Settlement Agreement. 19 Id. at 11. The settlement thus protects the interests of

 2   future class members, while also giving them the opportunity to receive tens of billions of dollars

 3   from revenue sharing with Division I schools, made possible by this landmark injunctive relief

 4   settlement. See Campbell v. Facebook, Inc., 951 F.3d 1106, 1124 (9th Cir. 2020) (“the settlement’s

 5   benefits must be considered by comparison to what the class actually gave up by settling”).

 6   D.     Plaintiffs have adequate class representatives for the scholarship claims.
 7          Plaintiffs stand by their position that Grant House and Nya Harrison adequately represent

 8   equivalency sport athletes who received partial scholarships and have claims challenging the

 9   NCAA’s scholarship limits. As explained in Plaintiffs’ Reply Brief, Mr. House and Ms. Harrison

10   are adequate class representatives, with standing to bring these claims because they each

11   participated in an equivalency sport, neither of them received a full athletic scholarship throughout

12   their college career, 20 and they both allege that they were injured by Defendants’ anticompetitive

13   conduct. Third Am. Compl. ¶¶ 27, 75.

14          Nevertheless, to avoid any doubt about standing or adequacy of the named plaintiffs,

15   Plaintiffs also move to add Nicholas Solomon as an additional class representative. As explained

16   in Plaintiffs’ proposed amended complaint, Mr. Solomon is a former college lacrosse player who

17   competed for the University of North Carolina – Chapel Hill and Georgetown University from 2018

18   to 2023. Third Am. Compl. ¶ 76. During the undergraduate years he attended UNC, Mr. Solomon

19   received a partial athletic scholarship but had to pay the difference to cover the full cost of his

20   education. Third Am. Compl. ¶ 78. To the extent there is any concern about needing a class

21   representative who received a partial athletic scholarship and did not receive any other

22
         19
            Nor is there any basis to reject the settlement because some restrictions on athlete
23   compensation remain in place. “So long as the conduct perpetuated under a settlement agreement
     does not per se violate antitrust law, the settlement may be approved, even if the perpetuated
24   conduct might not withstand scrutiny under the rule of reason.” In re Blue Cross Blue Shield
     Antitrust Litig., 85 F.4th 1070, 1089–90 (11th Cir. 2023) cert denied 144 S. Ct. 2686 (2024). Here,
25   this Court has already held that the rule of reason applies to the NCAA’s restraints. The rule of
     reason would likewise apply to the less restrictive “pool” system that is an agreed-to compromise
26   in the injunctive relief settlement and enables the class members to receive nearly $20 billion in
     new benefits over the next ten years.
27       20
            Plaintiffs have submitted a proposed amended complaint which clarifies that Mr. House
     received a partial athletic scholarship and partial academic scholarship and Ms. Harrison did not
28   receive an athletic scholarship. Third Am. Compl. ¶¶ 17, 67.
                                                     -21-
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 1   supplemental scholarship aid, Mr. Solomon meets those criteria. He alleges that he “has

 2   experienced anticompetitive harm due to the NCAA’s restraints on athletic scholarships, which

 3   artificially limited his ability to earn an athletic scholarship and the amount thereof,” Third Am.

 4   Compl. ¶ 86, and thus has standing to bring claims challenging those restraints. Accordingly,

 5   Plaintiffs request that Mr. Solomon be appointed as a class representative for the Additional Sports

 6   Class Declaratory and the Injunctive Relief Class. Third Am. Compl. ¶¶ 312, 318. Class Counsel

 7   intend to seek a service award for Mr. Solomon in recognition of his contribution to the case.

 8   E.     Plaintiffs have modified the House notice and claims documents in line with this
            Court’s directions.
 9
            Plaintiffs have modified the notice documents to address the Court’s concerns expressed
10
     during the Preliminary Approval hearing on September 5, 2024. Specifically, Plaintiffs have
11
     clarified or added language regarding the following: (1) the potential for modification of time and
12
     date of the Final Approval Hearing, (2) the chance (but not guaranteed) opportunity to speak at
13
     Final Approval Hearing if a written objection has been submitted, (3) the class definition for each
14
     class, and (4) more detail explaining damages, distribution, and payment. Plaintiffs made these
15
     changes, where applicable, in both House and Hubbard notice documents. See e.g., Berman Supp.
16
     Decl., Ex. 3-6, 8-11. These documents have been filed and submitted as new word versions to the
17
     Court to provide an opportunity for further revisions. In addition, the Court requested Plaintiffs
18
     check for inaccuracies—noting an incorrect date in the House claim form. Upon review, this date
19
     is referencing the time-period that athletes are eligible for damages for compensation for athletic
20
     services, not for NIL, and therefore based on the statute of limitations that period does start in
21
     2019. Berman Supp. Decl., Ex. 6.
22
            Plaintiffs additionally would like to provide the Court with a link to preview the
23
     settlement website that is designed to offer accessible, important information upon viewing by
24
     class members. For example, the website will automatically push the most frequently viewed
25
     questions to the front page for class members to get answers quickly. You can see it here: College
26
     Athlete Compensation. This is a preview link that will be disabled when the website goes live
27

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 1   with the correct link at the time the notice program begins. All language on the website will be

 2   updated to align with the notice documents approved by the Court.

 3             The website has been specifically designed to appeal to this Settlement Class demographic

 4   and encourage participation. The website’s focus is a primarily mobile friendly design utilizing

 5   imagery over text, plain language over complex legalese and interactive features more attuned to

 6   a social media website than a class action settlement. A key characteristic of the Settlement Class

 7   is their generational age group. Plaintiffs’ belief is that we have a very minimal amount of time to

 8   engage these Class members once they visit the website and entice them to not only participate

 9   but share with their teammates. This website is a first-to-market example of a consumer-friendly

10   website designed to engage more directly and clearly with class members.

11   F.        The Amended Settlement Agreement and Third Amended Complaint clarify the
               scope of the release.
12
               At the hearing, the Court raised two points regarding the scope of the release of future
13
     claims. The Amended Settlement Agreement and the Third Amended Complaint resolve these
14
     concerns.
15
               First, the Court asked whether the Settlement purports to release: the Choh claims
16
     contesting the Ivy League’s preexisting rule against athletic scholarships that are permitted by
17
     NCAA rules; 21 labor law claims like those raised in Johnson; 22 and Title IX claims. Tr. at 29:2–21.
18
     As Plaintiffs’ counsel noted at the hearing, and as defense counsel agreed, the Settlement does not
19
     release any such claims. Id. at 30:19–31:17. Nevertheless, in response to the Court’s concerns, the
20
     Amended Settlement Agreement affirmatively clarifies that these claims—defined therein as
21
     “Unreleased Claims”—are not released by the Settlement. See Am. SA ¶ 1(vv); see also id.
22
     ¶¶ 1(oo), 1(pp).
23
               Second, the Court posited that the release in the Settlement may encompass Conference
24
     Defendants’ rules that were not challenged in the Second Amended Complaint. See Tr. 108:13–
25
     109:3. Specifically, the Court queried whether the Second Amended Complaint only challenged
26

27
          21
             See Choh v. Brown et al., No. 3:23-cv-00305-AWT (D. Conn.).
28        22
             Johnson v. National Collegiate Athletic Association, No. 2:19-cv-05230 (E.D. Penn.).
                                                       -23-
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 1   the Conference Defendants’ rules insofar as “they incorporate objectionable NCAA rules.” See id.

 2   at 108:15–18. It did not—the Second Amended Complaint broadly challenged the “Conference

 3   Defendants’ restraints that prohibit, cap, or otherwise limit the compensation that student-athletes

 4   may receive . . . including for the use of their names, images, likenesses . . ., as well as compensation

 5   for their athletic services.” Second Am. Compl. (ECF 448-1), ¶ 96; see also id. (“Plaintiffs

 6   challenge the NCAA and Conference Defendants’ restraints limiting the number of scholarships

 7   available to student-athletes”). As a result, the release in the Settlement properly covers the rules

 8   challenged in the Second Amended Complaint. The Third Amended Complaint contains revised

 9   language clarifying the challenged Conference rules, which are the same as those addressed by the

10   Settlement release. See, e.g., Third Am. Compl. ¶ 127.

11                                          III.    CONCLUSION
12           For all the foregoing reasons, in addition to those expressed in Plaintiffs’ prior briefing,

13   Plaintiffs respectfully request that the Court grant preliminary approval of the proposed Settlement

14   Agreement and direct notice to the Settlement Classes.

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 1   DATED: September 26, 2024

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 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)

 2          Pursuant to Civil Local Rule 5-1(i)(3), the filer of this document attests that concurrence in

 3   the filing of this document has been obtained from the signatories above.

 4                                                By: /s/ Steve W. Berman
                                                          STEVE W. BERMAN
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